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 5
                           UNITED STATES DISTRICT COURT FOR THE
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7

 8    FOUR SEASONS ROOFING AND                          No.
      REMODEL SERVICES INC., a Washington
 9    Corporation,                                     DEFENDANT FIRST MERCURY
                                                       INSURANCE COMPANY’S NOTICE
                                                       OF REMOVAL PURSUANT TO 28
10                                                     U.S.C. §1441(a)
                            Plaintiff,
11
                     vs.
12    UNITED SPECIALTY INSURANCE
      COMPANY, a foreign insurance company,
13    EVANSTON INSURANCE COMPANY fka
      ALTERRA EXCESS AND SURPLUS
14    COMPANY, a foreign corporation;
      INTERNATIONAL INSURANCE
15    COMPANY OF HANOVER, a foreign
      corporation; FIRST MERCURY
16    INSURANCE COMPANY, a foreign
      corporation,
17
                            Defendant.
18
     TO:           The Clerk of the United States District Court for the Western District of
19
                   Washington at Seattle
20
     AND TO:       Plaintiff, and her counsel of record, Rima I. Ghandour
21
                   Defendant International Insurance Company of Hanover, and its counsel of
                   record, Gary Sparling
22

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24
     DEFENDANT UNITED SPECIALTY INSURANCE COMPANY’S                 LETHER & ASSOCIATES PLLC.
25   NOTICE OF REMOVAL PURSUANT TO                               1848 WESTLAKE AVENUE N, SUITE 100
     28 U.S.C. § 1441(a) – 1
                                                                          SEATTLE, WA 98109
                                                                  P: (206) 467-5444 F: (206) 467-5544
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 1          Please take Notice that First Mercury Insurance Company (hereinafter referred to as

 2   “FMIC”) hereby removes to this Court the state court action described below:

 3                                      I.      THE SUBJECT ACTION

 4          1.         On June 17, 2018, Plaintiff Four Seasons Roofing (hereinafter “Plaintiff”) began

 5   an action in the Superior Court of Washington for Snohomish, which was assigned cause

 6   number 19-2-05439-31. The Complaint named “First Mercury Insurance Company” as a

 7   defendant, among others.

 8          2.         On June 24, 2019, Plaintiff filed an Amended Complaint. A copy of the

 9   Amended Complaint is attached hereto as Exhibit A.

10          3.         Plaintiff served a copy of an Amended Summons and the Amended Complaint

11   on the Washington Office of Insurance Commissioner of June 26, 2019. A copy of the

12   Amended Summons is attached hereto as Exhibit B. A copy of the Washington Office of

13   Insurance Commissioners’ Acceptance of Service is attached hereto as Exhibit C.

14          4.         On July 2, 2019, FMIC received from the Office of Insurance Commissioner

15   Plaintiff’s Amended Summons and Amended Complaint.

16                                II.        DIVERSITY OF CITIZENSHIP

17          5.         Plaintiff is Washington Corporation, with its principal place of business in the

18   State of Washington.

19          6.         FMIC is a foreign insurance company organized under the laws of the State of

20   Delaware with its statutory place of business in the State of New Jersey.

21          7.         Defendant United Specialty Insurance Company is foreign insurance company

22   organized under the laws of the State of Delaware with its principal place of business in the

23   State of Texas.

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 1           8.      Defendant Evanston Insurance Company fka Alterra Excess and Surplus

 2   Company organized under laws of the State of Illinois with its principal place of business in the

 3   State of Illinois.

 4           9.      Defendant International Insurance Company of Hanover1 is foreign company

 5   organized under the laws of Germany with its principal place of business in Germany.

 6                                 III.    AMOUNT IN CONTROVERSY

 7           10.     In the Amended Complaint, Plaintiff alleges that on November 2, 2015, a suit

 8   was filed by Marc Dahl and Julie Dahl against Plaintiff. See Exhibit A.

 9           11.     Plaintiff alleges that FMIC failed to respond to a tender for insurance coverage

10   for the claims the Dahls made against the Plaintiff.

11           12.     FMIC never received a tender of the lawsuit filed by the Dahls against Plaintiff.

12           13.     Upon information and belief, Plaintiff eventually entered into a stipulated

13   settlement and covenant not to execute with the Dahls, stipulating to a settlement of $80,000

14   and assigning all rights against its insurance carriers to the Dahls.

15           14.     Plaintiff then filed this matter against FMIC and other insurance carriers,

16   alleging both contractual and extra-contractual claims.

17           15.     Plaintiff alleges claims against FMIC for Breach of Contract, Bad Faith,

18   Negligent Claims Handling, violation of the Consumer Protection Act, and violation of the

19   Washington Insurance Fair Conduct Act.

20           16.     Plaintiff seeks damages, attorney fees, treble damages, exemplary damages up to

21   $25,000 under the Consumer Protection Act, injunctive relief, interest and injunctive relief.

22

23   1
      Plaintiff names as a Defendant “International Insurance Company of Hanover.” Upon information and
     belief, the intended defendant is “International Insurance Company of Hannover” (emphasis added).
24
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 1          17.     The amount in controversy requirement may be satisfied by claims of general

 2   and unspecified damages, claims for attorney’s fees authorized by law, and by punitive

 3   damages. See, e.g., Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005); Gibson v.

 4   Chrysler Corp., 261 F.3d 927, 946 (9th Cir. 2001); Galt v. Scandinavia, 142 F.3d 1150, 1155-

 5   56 (9th Cir. 1998). When an unspecified amount of damages is alleged, the court may consider

 6   facts contained in the removal petition to determine whether the amount in controversy

 7   requirement has been met. Kroske, 432 F. 3d at 980 (citing, Singer v. State Farm Mutual Auto.

 8   Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997).

 9          18.     Based upon the allegations of the Amended Complaint and the terms of the

10   stipulated settlement as between Plaintiff and the Dahls, the amount in controversy requirement

11   has clearly been met in this matter.

12                                          IV.     JURISDICTION

13          19.     For purposes of determining jurisdiction under 28 U.S.C. § 1332:

14                  a. FMIC is a citizen of Delaware and New Jersey.

15                  b. Plaintiff is a citizen of Washington.

16                  c. Defendant United Specialty Insurance Company is citizen of Texas and

17                      Delaware.

18                  d. Defendant Evanston Insurance Company fka Alterra Excess and Surplus

19                      Company is a citizen of Illinois.

20                  e. Defendant International Insurance Company of Hanover is a citizen of

21                      Germany.

22          20.     Based upon the forgoing, diversity is complete.

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 1                                         V.      TIMELINESS

 2            21.   Plaintiff served the Amended Summons and Amended Complaint on the Office

 3   of Insurance Commissioner of June 26, 2019.

 4            22.   The Office of Insurance Commissioner delivered the Amended Summons and

 5   Amended Complaint to FMIC in July 2, 2019.

 6            23.   This Notice of Removal, filed on July 26, 2019, is timely under 28 U.S.C.

 7   §1446.

 8            24.   Counsel has appeared on behalf of Defendant International Insurance Company

 9   of Hannover and Evanston Insurance Company.

10            25.   Both Defendants have consented to removal.

11            26.   At this time, Counsel has not appeared for United Specialty Insurance Company.

12            VI.    COPIES OF PROCESS, PLEADINGS, ORDERS, AND MOTIONS IN
                                  STATE COURT PROCEEDINGS
13

14            27.   In accordance with 28 U.S.C. §1446, attached to this notice as Exhibits A
     through E are true and correct copies of the pleadings, process, orders, additional records, and
15
     additional proceedings in the Superior Court of Washington. These documents are:
16
                           A.      Amended Complaint;
17
                           B.      Amended Summons;
18
                           C.      The Office of Insurance Commissioner’s Acceptance of Service;
19
                                   and
20
                           D.      Notice of Appearance for First Mercury Insurance Company filed
21
                                   by Thomas Lether, WSBA #18089;
22
                           E.      Notice of Appearance for United Specialty Insurance Company
23
                                   filed by Gary Sparling, WSBA #23208;
24
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 1                         F. Second Amended Complaint;

 2                         G. Second Amended Summons.

 3                 Notice of this removal will be filed with the Clerk of the Snohomish County

 4                                Superior Court and will be given to all other parties, in

 5                                accordance with 28 U.S.C. §1446.

 6          DATED this 26th day of July, 2019.

 7                                               s/ Thomas Lether
                                                 s/ Sam Colito
 8                                               Thomas Lether, WSBA #18089
                                                 Sam Colito, WSBA #42529
 9                                               1848 Westlake Ave N., STE 100
                                                 Seattle, WA 98109
10                                               P: 206-467-5444
                                                 F: 206-467-5544
11                                               tlether@letherlaw.com
                                                 scolito@letherlaw.com
12                                               Counsel for Defendant FMIC

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23                                  CERTIFICATE OF SERVICE

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 1          The undersigned hereby certifies under the penalty of perjury under the laws of the

 2   State of Washington that on this date I caused to be served in the manner noted below a true

 3   and correct copy of the foregoing on the following party(ies):

 4          Rima I. Ghandour
            Ghandour Law
 5          319 SW Washington Street, Suite 301
            Portland, OR 97204
 6          503-345-9255
            rima@ghandourlaw.com
 7          Counsel for Plaintiff

 8          Gary Sparling
            Soha and Lang
 9          1325 4th Ave., Ste. 2000
            Seattle, WA 98101
10          Counsel for International Insurance Company of Hanover

11          Michael McCormack
            Jon S. Bogdanov
12          1700 Seventh Ave, Suite 1810
            Seattle, WA 98101-1397
13          Michael.mccormack@bullivant.com
            Jon.bogdanov@bullivant.com
14          Counsel for Evanston Insurance Company

15

16   By:        [X] First Class Mail           [X] E-mail/ECF            [ ] Legal Messenger

            Dated this 26th day of July, 2019 at Seattle, Washington.
17

18                                                    s/Elizabeth Kruh
                                                      Elizabeth Kruh, Paralegal
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